
WESLEY, Circuit Judge:
This appeal raises the question of whether a suspect in custody and informed of his rights in accordance with Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966), is entitled to the prophylactic bar prohibiting police questioning established in Edwards v. Arizona, 451 U.S. 477, 101 S.Ct. 1880, 68 L.Ed.2d 378 (1981) (right to counsel), and Michigan v. Mosley, 423 U.S. 96, 96 S.Ct. 321, 46 L.Ed.2d 313 (1975) (right to silence), when he expresses uncertainty with regard to asserting his Fifth Amendment rights while contemporaneously refusing to sign a waiver of rights form. We believe he is entitled to the prophylaxis and affirm the district court. By unequivocally refusing to sign the waiver form in response to a custodial agent’s instruction to sign the waiver form if defendant agreed with it, defendant in this case invoked his Fifth Amendment rights, and therefore his custodial agents were required to refrain from further interrogation.
Background
Investigating child pornography possession and internet trafficking, FBI Special Agents Joseph McArdle and James McCaffery visited the home of Gordon Plugh in Rochester, New York, on July 14, 2005. The agents questioned Plugh regarding possession of child pornography on his computer and, upon obtaining Plugh’s permission, searched the computer. Upon finding child pornography on the hard drive, the FBI obtained an arrest warrant for Plugh, and five special agents, including McArdle, arrested Plugh at his father’s residence in Wayland, New York, on September 28, 2005. Upon handcuffing Plugh, McArdle read Plugh his Fifth Amendment rights and asked Plugh to sign an advice-of-rights form.1
*138According to McArdle, McArdle asked, “Is that true; are you willing to do that?” The district court found that McArdle had stated to Plugh that “[i]f you agree with the statement you can sign the form.” United States v. Plugh, 522 F.Supp.2d 481, 487 (W.D.N.Y.2007). Plugh stated he understood his rights because he was a former Arizona2 Department of Corrections officer and according to McArdle stated, “I am not sure if I should be talking to you,” and “I don’t know if I need a lawyer.” Plugh did not sign the waiver and stated that he did not want to sign anything at that time. Agent McArdle wrote “refused to sign” on the form and then signed the form himself. McArdle testified that Plugh’s refusal to sign was unequivocal. None of the agents asked Plugh any further questions while in Plugh’s father’s home.
During the hour-and-fifteen-minute drive to the FBI office in Rochester, the agents transporting Plugh told Plugh he had been arrested because child pornography had been found on his hard drive. According to the FBI report dictated the day after Plugh’s arrest and signed by McArdle, Plugh asked the agents several times “for advice on what to do.” According to McArdle, the agents stated that they would relay any cooperation made by Plugh to the Assistant U.S. Attorney on the case. The agents then told Plugh that if Plugh wanted to talk about the case, the agents would again advise Plugh of his Miranda rights, but also told him that they were not going to talk about the case at that point.
When the agents and Plugh arrived at the FBI office, the agents placed Plugh in a back interview room. They informed Plugh that they were about to take him to the U.S. Marshals for booking and that “[i]f he wanted to make any statements this was the point....” Plugh then indicated he would make statements, and he was re-advised of his Miranda rights. Plugh did not ask for an attorney or indicate he wanted to speak to law enforcement. He then made inculpatory statements regarding downloading and possessing child pornography and admitted to lying to the agents about the existence of a Trojan virus on his computer.
Plugh was indicted on January 11, 2007, under 18 U.S.C. § 2252A(a)(2)(A) (receipt of child pornography) and 18 U.S.C. § 2252A(a)(5)(B) (possession of child pornography). Plugh moved to suppress his July 14, 2005, and September 28, 2005, statements to the FBI, as well as physical evidence seized on July 14, 2005. Plugh argued that his statements were “involuntary, the product of coercion and violative of the right to counsel.” The United States District Court for the Western Dis*139trict of New York (Siragusa, /.) denied the motion to suppress the July 14 statements and physical evidence but granted the motion to suppress the September 28 statements. Plugh, 522 F.Supp.2d at 493-96. The district court held that Plugh’s refusal to sign the waiver form was an “unequivocal” invocation of Plugh’s right to counsel and to remain silent, and that suppression of Plugh’s statements was proper because the officers did not scrupulously honor Plugh’s rights when they “repeatedly [told Plugh] that any cooperation would be brought to the attention of the AUSA and by telling [Plugh] that he was about to be taken to the Marshal’s office.” Id. at 496. The district court noted that even if Plugh “invoked his right to counsel and his right to remain silent equivocally or ambiguously. suppression [was] nonetheless required since [the agents], at least as to the defendant’s right to remain silent, failed to limit themselves to narrow questions only for the purpose of clarifying the ambiguity, as required by this Circuit” under United States v. Ramirez, 79 F.3d 298, 304 (2d Cir.1996). Plugh, 522 F.Supp.2d at 495-96 (internal quotation marks omitted).
On appeal the government acknowledges that Plugh “was clear he did not wish to sign anything,” including the waiver, at the time he was arrested at his father’s home. Regardless of that acknowledgment, the government contends that Plugh’s invocation of his Fifth Amendment rights was not “unequivocal and unambiguous.” The government constructs its argument on the language the Supreme Court employed in Davis v. United States, 512 U.S. 452, 114 S.Ct. 2350, 129 L.Ed.2d 362 (1994).
We are called upon to determine whether Plugh retained his right to remain silent 3 and his right to counsel by refusing to sign the advice-of-rights form when asked by Agent McArdle to sign the form if he agreed with its contents, notwithstanding his statements immediately prior that he was not certain he wanted to talk to a lawyer or that he should talk to the interrogating agents. As we see it, we must answer two questions: (1) whether Plugh’s refusal to sign the waiver form in this context was an invocation of his Fifth Amendment rights; and (2) if yes, whether the agents, subsequent to Plugh’s refusal to sign the waiver form, properly complied with the prophylactic rules requiring the police to refrain from questioning. We find that the prophylactic rules were applicable to Plugh and that the agents did not properly abide by those rules.4 We therefore affirm the district court’s order suppressing the September 28, 2005, statements.
*140Discussion5
I. Whether Plugh Invoked His Fifth Amendment Rights
A. The Fifth Amendment’s Protections
A suspect cannot be required to incriminate himself. U.S. Const, amend. V. Encapsulated in this protection are certain well-known rights: (1) the right to remain silent; and (2) the right to an attorney, either appointed or retained. See Miranda v. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966). More than forty years ago, the Miranda Court noted that the prosecution may not use statements made by a suspect under custodial interrogation unless: (1) the suspect has been apprised of his Fifth Amendment rights; and (2) the suspect knowingly, intelligently, and voluntarily waived those rights. Id. at 444-45, 86 S.Ct. 1602. The Supreme Court in the years following Miranda fleshed out the judicial mechanisms for ensuring the viability of these constitutional protections. Included among them is the principle that “courts must presume that a defendant did not waive his rights,” North Carolina v. Butler, 441 U.S. 369, 373, 99 S.Ct. 1755, 60 L.Ed.2d 286 (1979), until the government proves otherwise by a preponderance of the evidence, Colorado v. Connelly, 479 U.S. 157, 169, 107 S.Ct. 515, 93 L.Ed.2d 473 (1986). Put differently, unless the suspect validly waived his rights, we presume he retains them.
Cases in this area of the law are fact intensive because of the number of combinations of: (1) the circumstances preceding a suspect’s interrogation; (2) the method and manner by which a suspect is informed of his or her Miranda rights; and (3) the timing of the suspect’s invocation — at the time he receives the warnings or later during the interrogation following an initial waiver.6
To honor a suspect’s Fifth Amendment rights, custodial officers must abide by several prophylactic rules designed to protect the Fifth Amendment rights that come into play once the suspect is in custody. “Under Miranda’s prophylactic protection of the right against compelled self-incrimination, any suspect subject to custodial interrogation has the right to have a lawyer present if he so requests, and to be advised of that right.” Montejo v. Louisiana, - U.S. -, 129 S.Ct. 2079, 2089, 173 L.Ed.2d 955 (2009).
There are additional layers of prophylactic protection. Once a suspect invokes his Fifth Amendment rights he is entitled to a second layer of prophylaxis that has its roots in Edwards v. Arizona, 451 U.S. 477, 101 S.Ct. 1880 (1981). “Under Edwards’ prophylactic protection of the Miranda right, once such a defendant has invoked his right to have counsel present, interrogation must stop.” Montejo, 129 S.Ct. at 2098-90 (internal quotation marks omitted). Likewise, if the suspect initially decides after receiving the warnings that he wishes to remain silent, the custodial officers must “scrupulously hon- or!]” his “right to cut off questioning.” Michigan v. Mosley, 423 U.S. 96, 104, 96 5. Ct. 321, 46 L.Ed.2d 313 (1975).
An exception to the rule occurs when it is not clear from a suspect’s statements or conduct whether he is asserting *141his rights. In such cases, custodial officers may ask clarifying questions to determine if a suspect is exercising his rights. See Ramirez, 79 F.3d at 304. But because the default presumption is that a suspect retains his rights and the burden is on the government to prove otherwise, custodial officers who press on with questioning assuming that a suspect’s statements or conduct are not indications of the suspect’s desire to retain his Fifth Amendment rights do so at the risk of suppression of the suspect’s subsequent statements.
B. Law Applicable to Determining If Plugh Invoked His Fifth Amendment Rights
In this case, the agents presented Plugh with a waiver form and no one disputes that Plugh refused to sign it. What then are the implications of Plugh’s refusal?
In United States v. Quiroz, this Court addressed whether refusal to sign a waiver form may constitute an invocation of a suspect’s Fifth Amendment rights. 13 F.3d 505 (2d Cir.1993). There, the custodial officer “asked [suspect] Quiroz to read the advice-of-rights forms, asked whether he understood the forms, and simply asked Quiroz to sign them.”7 13 F.3d at 512. Quiroz “declined to sign until he had spoken to an attorney.” Id. at 509. Finding that the “statement was a direct and complete response to the precise question Quiroz had been asked,” the Court determined that the prophylactic requirement that custodial officers refrain from questioning was triggered at that moment. Id. at 512.
The Quiroz Court had
no doubt whatever that, had Quiroz signed, [the custodial officer] would have viewed that act as a complete waiver of Quiroz’s rights. We can see no good reason not to treat Quiroz’s refusal to sign forms in the absence of counsel as a refusal that was coextensive with the waiver [the custodial officer] sought.
In sum, we do not view Quiroz’s refusal to sign the forms as a limited request for counsel, any more than [the custodial officer’s] request to sign the forms was a request for a limited waiver. Since we do not view Quiroz’s statement as narrower than the [custodial officer’s] request, we see no ambiguity.

Id.

Quiroz instructs us, therefore, that — absent a suspect’s prior or simultaneous “affirmative announcements of his willingness to speak,” Connecticut v. Barrett, 479 U.S. 523, 529, 107 S.Ct. 828, 93 L.Ed.2d 920 (1987) — -when a custodial officer specifically asks a suspect if he will waive his rights by signing a form and does so in such a way that the accused would interpret a refusal to sign as a negative answer, the suspect has taken sufficient action to trigger the Edwards prophylactic rule and the officers must refrain from questioning the suspect.8
*142C. Did Plugh Invoke His Fifth Amendment Rights?
Under Quiroz, the question is whether Plugh’s actions-a refusal to sign the advice-of-rights form in light of the agent’s question “Is that true; are you willing to do that?” following his statements “I am not sure if I should be talking to you,” and “I don’t know if I need a lawyer” — were an invocation of his rights.
While Plugh’s statements, “I am not sure if I should be talking to you” and “I don’t know if I need a lawyer,” appear ambiguous, Plugh’s ultimate action' — his refusal to sign — constituted an unequivocally negative answer to the question posed together by the waiver form and McArdle, namely, whether he was willing to waive his rights. McArdle’s direction to Plugh that “[i]f you agree with the statement you can sign the form,” Plugh, 522 F.Supp.2d at 487, makes the meaning of Plugh’s response less ambiguous than the defendant’s refusal to sign in Quiroz, where the officer simply asked “would you mind just signing these?” Quiroz, 13 F.3d at 509. Plugh’s answer in this context, under Quiroz, amounts to an invocation, and that is where the inquiry ends.9 Because Plugh invoked his rights, the custodial officers should have refrained from reinitiating the interrogation, and all subsequent statements made by Plugh were properly suppressed.10 See Part II., infra.
D. Applicability of Davis v. United States
The government, looking to language in Davis v. United States, 512 U.S. 452, 114 S.Ct. 2350, 129 L.Ed.2d 362 (1994), takes the view that an initial invocation of one’s Fifth Amendment rights such as Plugh’s must be unambiguous and that the ambiguity is resolved against Plugh. The government argues that Plugh did not unambiguously invoke his rights and that therefore, the agents were free to continue to question him. This view seriously misunderstands the sweep of Davis.11
In Davis, the Supreme Court held that if a defendant validly waives his Fifth Amendment rights initially and then thereafter attempts to invoke those rights, the defendant bears the burden of showing that the invocation was unambiguous and unequivocal to trigger the prophylaxis rules. Davis, 512 U.S. at 460-62, 114 S.Ct. 2350; accord Diaz v. Senkowski, 76 F.3d 61, 65 (2d Cir.1996). Davis does not in*143struct courts how to analyze an initial invocation of one’s Fifth Amendment rights following the Miranda warnings where no waiver occurred. In our view, Davis only provides guidance for circumstances in which a defendant makes a claim that he subsequently invoked previously waived Fifth Amendment rights.
In order to use statements made by a suspect without counsel present while under custodial interrogation, the burden is on the government to prove the suspect waived his rights. See Connelly, 479 U.S. at 169, 107 S.Ct. 515. Once the government has met its burden, the suspect has the burden of proving that he resurrected rights previously waived. The invocation must be unambiguous and unequivocal. “To avoid difficulties of proof and to provide guidance to officers conducting interrogations, this is an objective inquiry.” Davis, 512 U.S. at 458-59, 114 S.Ct. 2350.
The Court fashioned the rule to avoid “transforming] the Miranda safeguards into wholly irrational obstacles to legitimate police investigative activity.” Id. at 460, 86 S.Ct. 1602 (internal quotation marks omitted). The rule ensures that a suspect does not use the Fifth Amendment as a sword to excise unfavorable evidence after discarding it as a shield.
The Davis Court was careful to note that only “after a knowing and voluntary waiver of the Miranda rights, law enforcement officers may continue questioning until and unless the suspect clearly requests an attorney.”12 Davis, 512 U.S. at 461, 114 S.Ct. 2350 (emphasis added); see also id. at 459, 114 S.Ct. 2350 (noting that an ambiguous reference to an attorney would not compel the “cessation of questioning”) (emphasis added); id. (noting that a “statement [that] fails to meet the requisite level of clarity ... does not require that the officers stop questioning the suspect”) (emphasis added); id. (declining to extend Edwards to require officers to “cease questioning” upon an equivocal statement by a suspect) (emphasis added). Clearly, Davis is not in play here.
II. Whether the Agents Properly Honored Plugh’s Rights After Invocation
Plugh invoked his Fifth Amendment rights to counsel and silence. “[W]hen counsel is requested, interrogation must cease, and officials may not reinitiate interrogation without counsel present, whether or not the accused has consulted with his attorney.” Minnick v. Mississippi, 498 U.S. 146, 153, 111 S.Ct. 486, 112 L.Ed.2d 489 (1990). Should the suspect “decidef] to remain silent,” the custodial officers must “scrupulously hon- or[]” that decision. Mosley, 423 U.S. at 104, 96 S.Ct. 321.
An officer interrogates “ ‘whenever a person in custody is subjected to either express questioning or its functional equivalent.’ ” United States v. Montana, 958 F.2d 516, 518 (2d Cir.1992) (quoting Rhode Island v. Innis, 446 U.S. 291, 300-01, 100 S.Ct. 1682, 64 L.Ed.2d 297 (1980)). “Interrogation includes both ex*144press questioning as well as ‘any words or actions on the part of the police (other than those normally attendant to arrest and custody) that the police should know are reasonably likely to elicit an incriminating response from the suspect.’ ” Id. (quoting Innis, 446 U.S. at 301, 100 S.Ct. 1682). In Montana, this Court determined that an officer’s “unsolicited statement informing the defendant!] that any cooperation would be brought to the attention of the Assistant United States Attorney constituted interrogation.” Id. at 518-19 (internal quotation marks omitted). And in Campaneria, we concluded that an officer who stated “If you want to talk to us, now is the time to do it” had thereby committed “precisely the sort of conduct the prophylactic rule seeks to prevent.” Campaneria, 891 F.2d at 1021.
The district court found that the agents “repeatedly [told] the defendant that any cooperation would be brought to the attention of the AUSA” as well as told Plugh “that he was about to be taken to the Marshal’s office, so that if he wanted to make any statements this was the time.” Plugh, 522 F.Supp.2d at 496. We see no clear error in these findings of fact. The district court concluded that the agents’ conduct constituted impermissible interrogation and, after reviewing this question of law de novo, we agree.
The dissent presses for a reversal premised on the “ambiguity” of Plugh’s waiver. It acknowledges that under Ramirez, 79 F.3d at 304, “the police may ask questions to clarify whether the suspect in fact wishes to invoke, or to waive” in right-to-remain-silent cases. However, the dissent goes on to note that Davis is less restrictive because it “specifically declined to limit police to clarifying questions in [right-to-counsel cases].” Dissenting Op. at 146.
The dissent overlooks an important part of the district court’s opinion. The district court held that notwithstanding whether Plugh’s statements were ambiguous — and regardless of the significance of Plugh’s refusal to sign the waiver form under Quiroz, 13 F.3d at 511 — “suppression is ... required since [the agents], at least as to the defendant’s right to remain silent, failed to limit themselves to narrow questions only for the purpose of clarifying the ambiguity, as required by [Ramirez].” Plugh, 522 F.Supp.2d at 495-96 (internal quotation marks omitted).
The dicta in Davis suggesting that police need not limit themselves to clarifying questions in that case made sense in that case, but makes no sense at all here. In Davis, the officers did not have to limit their questions to resolving an ambiguity of defendant’s attempt to reassert his Fifth Amendment rights as the police were not bound to cease questioning until Davis unambiguously reasserted his rights. In situations where no waiver has occurred, the police must clarify whether an ambiguous statement is meant as an invocation because “Edwards set forth a bright line rule that all questioning must cease after an accused requests counsel.” Smith, 469 U.S. at 98, 105 S.Ct. 490 (citation omitted and italics in original).
Conclusion
This is a case about whether a suspect invoked his Fifth Amendment rights in the absence of any waiver. Davis is a case about the steps a suspect must take to demonstrate that he wishes to resurrect and invoke previously waived rights. In the context of the facts of this case, Plugh’s refusal to sign the waiver document was an invocation of his rights and entitles him to Edwards prophylaxis. The agents were not permitted to question him.
The district court’s order of June 11, 2007, granting defendant’s motion to sup*145press his statements made on September 28, 2005, is hereby Affirmed.

. The form contained the following,
YOUR RIGHTS
*138Before we ask you any questions, you must understand your rights.
You have the right to remain silent.
Anything you say can be used against you in court.
You have the right to talk to a lawyer for advice before we ask you any questions. You have the right to have a lawyer with you during questioning.
If you cannot afford a lawyer, one will be appointed for you before any questioning if you wish.
If you decide to answer questions now without a lawyer present, you have the right to stop answering at any time.
WAIVER OF RIGHTS
I have read this statement of my rights and I understand what my rights are. At this time, I am willing to answer questions without a lawyer present.
[Signature line]


. The FBI report, dictated the day of Plugh's arrest, states that Plugh claimed he had worked for the Texas Department of Corrections.


. We note that in his motion to suppress the September 28, 2005, statement Plugh limits his argument to a claim that the statements were taken in violation of his right to counsel. The district court appears to have dealt with this issue and with Plugh’s right to remain silent. See Plugh, 522 F.Supp.2d at 496. The government does not contend that the district court erred in this respect and asks us to analyze the right-to-remain-silent issue for its substance. The refusal to sign the waiver calls into question whether Plugh invoked either right, and we will consider both. However, our dissenting colleague seems to view the case, without any explanation, as a right to counsel case only and implies that makes a difference here. See Dissenting Op. at 146-47.


. There is no need to evaluate the district court's alternative ruling that suppression was required because the officers did not confine themselves to clarifying questions upon Plugh’s purported ambiguous invocation. Neither must we determine the validity of Plugh’s waiver at the time of his interrogation in Rochester.


. When evaluating a district court order granting a motion to suppress, this Court reviews findings of fact for clear error in the light most favorable to the government and reviews questions of law de novo. Rodriguez, 356 F.3d at 257.


. It is entirely possible, and is often the case, that someone will not invoke his rights.


. The custodial officer in Quiroz testified: "After I had asked him if he understood [his rights], I said, would you mind just signing these? He said, I-Before I sign anything, I want to speak to my attorney. Okay, I took them back.” Quiroz, 13 F.3d at 509 (alteration in original).


. The dissent apparently assigns no value to the agents’ statements to Plugh upon presenting him with the waiver form. This omission is ironic in light of the dissent’s insistence that "courts must look to all of the circumstances surrounding a purported invocation," Dissenting Op. at 146 (citing Davis v. United States, 512 U.S. 452, 458-59, 114 S.Ct. 2350, 129 L.Ed.2d 362 (1994)), and that the "cases support the overall principle that the circumstances matter, and that refusal to sign a waiver form is a sign that is informed by context.” Dissenting Op. at 147. Concomitantly, the dissent ignores the emphasis placed on context by this Court in Quiroz, in which we found that under the facts of that case, a suspect’s “statement [refusing to sign] *142was a direct and complete response to the precise question Quiroz had been asked.” Quiroz, 13 F.3d at 512.


. The dissent asserts that Plugh's refusal to sign "is fully as consistent with uncertainty as with rejection.” Dissenting Op. at 147. However, the language of the written waiver is clear, and we hear no objection in that regard from the dissent — a signature represents a waiver of one’s Miranda rights. The government in its brief acknowledges that Plugh’s refusal was clear and unequivocal and never suggests, as the dissent does, that the refusal could in fact indicate uncertainty on Plugh’s part. See Appellant’s Br. at 8. Instead, the government asserts that ambiguity in Plugh’s statements casts doubt on a conclusion that the invocation considered under the circumstances as a whole was clear and unambiguous. Lastly, the district court characterized Plugh's refusal to sign the waiver as "unequivocal.” Plugh, 522 F.Supp.2d at 493-96.


. We do not believe that this holding will deter police from using waiver forms, as the dissent fears. The testimony of the parties present — the custodial officer and the suspect — will often conflict with regard to what was said at the time the suspect was read his Miranda rights. Police officers recognize this and understand that a written waiver avoids this type of conflict.


. As noted earlier, if the invocation were ambiguous, which it was not, then the agents could have proceeded to question Plugh but only in an attempt to resolve the ambiguity. See Ramirez, 79 F.3d at 304.


. In United States v. Rodriguez, the Ninth Circuit noted that "Davis addressed what the suspect must do to restore his Miranda rights after having already knowingly and voluntarily waived them.” 518 F.3d 1072, 1079 (9th Cir.2008) (emphasis in original). The Rodriguez court correctly noted that “the majority of state supreme [and intermediate] courts to consider the issue have” also concluded that Davis's ambiguous statement requirement was limited to the post-waiver context. Id. at 1079 n. 6. One other federal court has noted that Davis should be seen as a post-waiver case, but did not analyze its application to pre-waiver scenarios. See United States v. Eastman, 256 F.Supp.2d 1012, 1019 (D.S.D.2003).

